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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


MATTHEW SIMMONS, ET AL.,

      Plaintiffs,

v.
                                        Case No. 8:23-CV-00201-TPB-AAS
USI INSURANCE SERVICES LLC,
ET AL.,

      Defendants.



USI INSURANCE SERVICES, LLC

      Plaintiff,

v.

MATTHEW SIMMONS, JACK
MITCHELL and SOUTHEAST
SERIES OF LOCKTON
COMPANIES, LLC,

      Defendants.


  DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW

      Under Rule 50(a) of the Federal Rules of Civil Procedure, Matthew

Simmons, Jack Mitchell, and Lockton SE ask this Court to enter judgment as

a matter of law.

                             INTRODUCTION

      USI set out to prove that Simmons and Mitchell stole its clients and
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employees, that Lockton SE encouraged them to do it, and that it lost money

as a result. But after 18 months of no-stone-left-unturned litigation and more

than a week of trial, the evidence shows that the clients who left would have

followed Simmons and Mitchell no matter what—and were free to do so. That

the employees who moved with Simmons and Mitchell had their own reasons

for leaving USI and joining Lockton—and were free to do so. That Lockton SE

did nothing more than compete by attracting top-tier talent—and advising that

talent not to solicit clients, employees, or take confidential information with

them. That everything USI lost it would have lost anyway, no matter how

Simmons and Mitchell chose to leave their jobs. Because USI has not proved

all the elements of any of its claims, this case shouldn’t go to the jury.

       In whittling down this case, the Court should start with USI’s bid for the

extraordinary relief of punitive damages. USI has come nowhere near proving

the kind of malicious conduct that would warrant punitive damages. Days of

testimony have proved only what the Court has long known—Simmons told

some clients and employees he was leaving USI, Mitchell told two clients, and

Lockton SE accepted the clients and employees when they came. None of this

conduct is the rare kind that would authorize the striking social condemnation

of punitive damages. Nor is there any basis for USI’s vindictive effort to claw

back   compensation     from   Simmons      and   Mitchell—compensation      that

indisputable evidence shows they had already earned based on years of service


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to USI and the revenue they generated for it. That vested compensation didn’t

become unjust enrichment merely because Simmons and Mitchell notified

some clients or employees they were leaving.

      The Court should not stop there. It should enter judgment on all claims

because USI has not proved any lost profits from client defections. USI chose

not to put in any evidence from clients showing they would have stayed at USI;

the one former client USI called proved the opposite. Without the testimony

of the clients, USI has no other evidence they would have stayed absent any

breach. USI also has no evidence of damages: Its expert admitted he tried

only to value the lost business, not to measure damages.

      The Court should dismiss USI’s remaining claims against Lockton SE

for other reasons, too. There is no evidence Lockton SE induced Simmons or

Mitchell to service former USI clients, so it can’t be liable for tortious

interference under the only theory left for USI to argue to the jury. Nor can

Lockton SE be liable for aiding and abetting any alleged breaches of fiduciary

duty—if in fact there were any such breaches. No evidence shows Lockton SE

substantially assisted or encouraged any conduct that USI might claim

amounted to a breach. In fact, the evidence is the opposite: Lockton SE told

Simmons and Mitchell not to solicit clients or employees, and it reminded

Simmons and Mitchell to continue to work solely for the benefit of USI.

      The trial testimony has also revealed gaping holes in USI’s claims


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against Mitchell and Simmons. USI practically forgot about Mitchell at the

trial; it has zero evidence that he told any employees he was leaving, or that

the one client who followed him to Lockton SE would have stayed at USI.

Simmons told some employees and clients he was leaving, but USI didn’t prove

those notifications had any effect. The employees all testified they would have

left USI no matter when or how they found out Simmons had left. Finally,

Simmons and Mitchell didn’t breach any fiduciary duty to USI. They at most

prepared to compete with USI; they continued generating revenue for USI

through the bitter end, in some cases just hours before leaving for Lockton SE.

                             LEGAL STANDARD

      Courts “should render judgment as a matter of law when there is no

legally sufficient evidentiary basis for a reasonable jury to find for that party.”

Cleveland v. HSN, Inc., 369 F.3d 1189, 1192 (11th Cir. 2004). The nonmoving

party must have “‘evidence of such quality and weight that reasonable and

fair-minded [jurors] in the exercise of impartial judgment might reach different

conclusions.’” Von Stein v. Brescher, 904 F.2d 572, 578 (11th Cir. 1990). “A

mere scintilla of evidence is insufficient to present a question for the jury”;

“[t]here must be a conflict in substantial evidence to create a jury question.” Id.

                                 ARGUMENT

I.     USI is not entitled to punitive damages as a matter of law.

      As the Court noted, “[p]roof that a defendant committed an intentional


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tort is not by itself sufficient” for punitives; instead, “[t]he conduct shown must

not only be intentional, but ‘egregious and sufficiently reprehensible to rise to

the level of truly culpable behavior deserving of punishment.’” Dkt. 227 at 4.

That is “‘an extraordinarily high bar.’” Id.; see also Phoenix Mgmt. Servs., Inc.

v. Waterchase Homeowners’ Ass’n, Inc., 384 So. 3d 206, 207 (Fla. Dist. Ct. App.

2024) (“garden-variety intentional torts may be proved without the evidence

necessary to justify an award of punitive damages.”).

      Florida courts routinely refuse to permit punitive damages when the

defendant’s conduct amounted to tortious interference or breach of fiduciary

duty but was not sufficiently reprehensible to merit punitive damages. In

Imperial Majesty Cruise Line, LLC v. Weitnauer Duty Free, Inc., 987 So. 2d 706

(Fla. Dist. Ct. App. 2008), for example, the defendant cruise operator appealed

from a punitive-damages award for a tortious-interference claim.              The

defendant had “essentially sought to preclude competition in the sale of duty-

free goods” by “barricad[ing] and prevent[ing] its passengers from shopping at

[the plaintiff’s] store”—conduct that the trial court deemed “‘calculated,

predatory, and excessive.’” Id. at 708. Nonetheless, the District Court of

Appeal concluded the defendant’s “conduct did not rise to truly culpable

behavior, for which damages are tenable to ‘express society’s collective

outrage.’” Id. The court thus reversed the punitive-damages award.

      It was the same story in Air Ambulance Professionals, Inc. v. Thin Air,


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809 So. 2d 28 (Fla. Dist. Ct. App. 2002). There, the jury awarded punitive

damages on claims of tortious interference and breach of fiduciary duty, but

the District Court of Appeal reversed, emphasizing that “[r]ecord evidence may

support an intentional tort, but not necessarily an award of punitive damages.”

Id. at 30. “Although the jury found that [the defendant] breached his fiduciary

duty to [the plaintiff]” by interfering with the plaintiff’s business relationships,

there was no evidence “of an illicit scheme to put [the plaintiff] out of business.”

Id. at 31. Nor was there “evidence of fraud or malice . . . or of any other type

of behavior which would justify punitive damages.” Id.

      The Eleventh Circuit, too, has set aside punitive-damages awards for

similar reasons in tortious-interference cases. In G.M. Brod & Co. v. U.S.

Home Corp., 759 F.2d 1526 (11th Cir. 1985), for example, the defendant

condominium developer “wanted to rid itself” of its property manager,

breached the parties’ management contract “for pretextual reasons, and then

“arranged for [the property manager’s] employees to resign and to be employed

by [it] on the same day.” Id. at 1535. Although that “evidence support[ed] the

jury’s findings that [the defendant] intentionally and unjustifiedly interfered

both with [the plaintiff’s] employees and the unit owners,” it did “not rise to

the level of reckless, malicious or offensive character to support the award of

punitive or vindictive damages.” Id. at 1537.

      Here, too, USI has introduced no evidence that could justify an award of


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punitive damages against any of the Defendants. Start with Mitchell. The

only potentially objectionable thing he did was calling two clients to inform

them he was resigning before he left USI. That’s it. He didn’t badmouth USI

or try to sell the clients on Lockton. His name was rarely mentioned at trial,

and when it was, it was generally because a witness was explaining he had

done nothing wrong—for example, that he never even notified other USI

employees he was leaving, much less enticed them to move to Lockton SE with

him. E.g., 7/11 Tr. 90:9-11.1 Given that other courts have held that notifying

clients of an imminent move to a different firm doesn’t support even a breach-

of-contract claim, e.g., Regions Bank v. Raymond James & Assocs., Inc., 2020

WL 6870815, at *4 (M.D. Fla. May 15, 2020), it’s impossible to see how it could

support punitive damages for outrageous wrongdoing.

      Next consider Lockton SE. None of USI’s evidence about Lockton SE

comes close to “the level of reckless, malicious or offensive character to support

the award of punitive or vindictive damages.” G.M. Brod, 759 F.2d at 1537.

Far from proving that Lockton SE acted with malice, the evidence shows

Lockton SE instructed Mitchell and Simmons not to solicit their clients or take

any confidential information with them, and to keep working for USI alone.

See, e.g., 7/11 Tr. 171:13-172:4; 7/10 Tr. 185:10-19; 7/15 Tr. 152:24-153:7.


1 Lockton SE cites the rough trial transcripts throughout this motion because

those are the only ones currently available.

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Lockton SE offered Simmons more money not to bring his clients with him.

7/10 Tr. 134:17-22. The company ultimately agreed to accept the clients, 7/10

Tr. 159:21-160:1, 259:10-22, but there is nothing wrong with that either; the

clients were indisputably free to leave, and Lockton was indisputably free to

accept their business. 7/11 Tr. 20:15-17.

      Finally, USI didn’t prove Simmons acted with any malice either. No

evidence shows he was driven by a desire to harm USI’s interests rather than

to do what’s best by his clients. There is considerable evidence to the contrary.

He left his accounts and information about them in “pristine” condition, filing

away all client-related correspondence in tidy folders and finishing renewals

that generated a year’s worth of revenue for USI immediately before leaving

for Lockton SE. 7/10 Tr. 69:6-19, 70:7-19, 77:20-24, 264:12-265:19. He and his

team worked hard for USI through the finish line, working late into the night

to wrap up a renewal the day before they left. 7/10 Tr. 215:15-16. USI may

not like how its employees left their jobs, but their conduct was not malicious.

      Finally, permitting USI to press for punitive damages against Mitchell

and Simmons would be unfairly prejudicial because they had only a limited

opportunity to put on evidence why they left USI, including how its extreme

understaffing made it impossible for them to adequately service clients. That

is the main reason they left USI in the way they did, and it is therefore crucial

to rebutting USI’s assertions they acted with malice. See Dkt. 228 at 8;7/8 Tr.


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134:5-138:4; 7/10 Tr. 192:16-193:5. Allowing USI to argue its case for punitive

damages without also allowing Simmons and Mitchell to put on the full battery

of testimony explaining their actions would deprive Mitchell and Simmons of

due process. See BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 575 (1996).

II.   The Court should enter judgment as a matter of law on USI’s
      request for disgorgement.

      This Court rebuffed USI’s effort to inject disgorgement into this case once

already. See Dkt. 178 at 17. In the joint pretrial statement, USI announced it

would try again by seeking “disgorgement of all compensation, including

salary, bonuses, and benefits, paid to Simmons and Mitchell by USI while they

were working to benefit Lockton SE at USI’s expense.” Dkt. 185 at 28. This

Court should reject USI’s latest bid for disgorgement for two reasons.

      First, disgorgement is categorically unavailable for USI’s contract and

tort claims against Simmons and Mitchell. “[U]nder Florida law, disgorgement

of profits earned is not a remedy for breach of contract.” Proudfoot Consulting

Co. v. Gordon, 576 F.3d 1223, 1245 (11th Cir. 2009). It’s also not a remedy for

tort claims that derive from contract breaches: When a plaintiff’s tort claims,

including for tortious interference, “all rely on the alleged breach of [a] Non-

Compete,” the plaintiff can recover only compensatory damages. Crom, LLC

v. Preload, LLC, 380 F. Supp. 3d 1190, 1207 (N.D. Fla. 2019). That is true here

because USI’s fiduciary-duty claims depend on a breach of contract.



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       Second, even if disgorgement were available, there would still be nothing

 to disgorge. The proper amount of disgorgement is “the defendant’s ill-gotten

 profits or gains.” Duty Free World, Inc. v. Miami Perfume Junction, Inc., 253

 So. 3d 689, 698 (Fla. Dist. Ct. App. 2018). Anything greater than “‘the amount

 with interest by which the defendant profited from his wrongdoing’” is an

 improper “‘penalty assessment.’” SEC v. ETS Payphones, Inc., 408 F.3d 727,

 735 (11th Cir. 2005). USI asked for disgorgement in its counterclaim only from

 Lockton SE, Dkt. 3 ¶ 104, but Lockton SE didn’t receive any money from USI;

 Simmons and Mitchell did. Lockton SE can’t pay to USI what it never had.

       USI also didn’t prove Simmons and Mitchell were unjustly enriched.

 USI seeks disgorgement of all money paid over some period late in their USI

 careers, evidently on the theory that Simmons and Mitchell were doing nothing

 to earn their keep at USI.     No reasonable jury could accept that theory.

 Simmons and Mitchell weren’t paid a salary; their regular compensation

 consisted exclusively of commissions, a share of the revenue they brought to

 USI. 7/9 Tr. 67:6-14, 97:4-12. They got paid only if they brought business to

 USI—and they did exactly that, generating more revenue every year. 7/9

 Tr. 67:18-70:16; 7/11 Tr. 235:9-17. So the only compensation Simmons and

 Mitchell received was necessarily for actions that were for the benefit of USI.

 USI got what it bargained for—its share of commissions. USI’s first witness,

 Tom Longhta, admitted as much. 7/9 Tr. 97:8-98:9; see also, e.g., Henderson v.


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 Skyview Sat. Networks, Inc., 474 F. Supp. 3d 893, 909-910 (W.D. Ky. 2020).

        Nor is there any basis for clawing back the bonus USI paid Simmons for

 staying with USI for five years after it acquired Wells Fargo Insurance Services

 and for generating significant business after that. Longhta and Simmons both

 made clear the bonus was fully vested by December 2022, before Simmons left

 USI, so it couldn’t possibly be the sort of unjust enrichment that would support

 a remedy of disgorgement. 7/9 Tr. 45:1-20; 7/10 Tr. 69:6-14; see also, e.g., SEC

 v. E-Smart Techs., Inc., 139 F. Supp. 3d 170, 189 (D.D.C. 2015).

        Simmons and Mitchell duly earned their compensation, and USI has

 identified no “ill-gotten profits or gains.” Duty Free World, 253 So. 3d at 698.

 And it would make no difference even if it had, for no reasonable jury could

 award what USI requests—every dime paid to Simmons and Mitchell over

 some unspecified period, even fully vested bonuses for past work and salary for

 duties they indisputably performed (because they generated revenue for USI).

 See, e.g., United States v. Mesadieu, 180 F. Supp. 3d 1113, 1117, 1122 (M.D.

 Fla. 2016) (forbidding that sort of blunderbuss approach to disgorgement).

 III.   The Court should enter judgment for Defendants on all claims
        because USI has not proved any damages.

        Damages are an element of USI’s claims, and USI agrees that to recover

 anything, it must prove those damages (in the form of lost profits) to a

 “reasonable certainty.” See Dkt. 185-3 at 61; see also Proudfoot Consulting Co.



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 v. Gordon, 576 F.3d 1223, 1242-1243 (11th Cir. 2009). USI hasn’t done so for

 two reasons. First, it introduced zero evidence showing that clients would have

 stayed if Simmons and Mitchell had acted differently. USI called only one

 client, Rick Tyson, formerly of PGT, and he confirmed PGT had no reason to

 stay with USI. 7/15 Tr. 198:20-203:23, 213:21-214:1. Tyson testified he would

 have rather sued USI than hire it again. 7/15 Tr. 199:11-17. As a result, USI’s

 only evidence to support the idea that clients would have stayed is Longhta’s

 assertion that USI generally retains 90% of revenue each year—a figure, he

 made clear, that applies to all USI revenue, not the revenue of producers who

 leave USI. 7/9 Tr. 131:1-25. Longhta admitted USI doesn’t track how much

 revenue—or how many clients—it keeps when a producer leaves. 7/9 Tr. 132:1-

 5. USI took a gamble, hoping to prove its case without the testimony of the

 clients whose business it claims it would have kept.         But without that

 testimony, it has no evidence from which the jury could find the clients would

 have stayed.

       Second, USI also has no evidence showing what profits it lost as a result

 of Simmons’s and Mitchell’s conduct. Yes, USI called a damages expert, Robin

 Frost, but he admitted that he wasn’t asked to (and didn’t) supply a damages

 model; he instead created a valuation model. 7/15 Tr. 248:16-24. He measured

 the value, as of January 2023, of USI’s “lost accounts” in perpetuity, not the

 profits USI would have earned if Simmons and Mitchell had left USI in a


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 different way. 7/15 Tr. 252:24-253:9, 264:4-11. He also admitted he didn’t try

 to assess how much business USI would have retained because that analysis

 would have been “speculative.” 7/15 Tr. 259:25-262:8. Frost also gave the jury

 no way to patch the damages hole that remains in USI’s case. He provided one

 damages figure—and no way for the jury to award less by apportioning the

 supposed lost profits on a per-claim or -client basis. E.g., 7/15 Tr. 252:17-22.

       When a plaintiff has not proved its entitlement to damages and has left

 the court with only one legally invalid damages figure, the court should enter

 judgment for the defendant. E.g., SelectSun GmbH v. Porter, Inc., 928 F.3d

 550, 553-56 (7th Cir. 2019); N. Dade Cmty. Dev. Corp. v. Dinner’s Place, Inc.,

 827 So. 2d 352, 353 (Fla. Dist. Ct. App. 2002). The Court should do so here.

 IV.   The Court should enter judgment as a matter of law on the
       tortious-interference claim against Lockton SE.

       This Court held there was no evidence that Lockton SE wrongfully

 induced Simmons or Mitchell to leave USI or to bring any clients or employees

 with them. See Dkt. 225 at 7. After the Court’s ruling on summary judgment,

 all that remained for the jury to decide was “whether the plan to have Simmons

 and Mitchell service their former USI clients originated with Simmons and

 Mitchell or with Lockton.” Id. at 9-10. The Court suggested it might be

 appropriate for Lockton SE to move for judgment as a matter of law on this

 vestige of USI’s claim. See id. at 10. The trial has proved that prediction right.



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       To prevail on a tortious-interference claim under Florida law, USI must

 prove, among other things, “the defendant’s intentional procurement of the

 contract’s breach.” Johnson Enters. of Jacksonville, Inc. v. FPL Grp., Inc., 162

 F.3d 1290, 1321 (11th Cir. 1998); Dkt. 3 ¶ 83. But Simmons’s or Mitchell’s

 “predisposition” to breach the contract would preclude imposing liability on

 Lockton SE for tortious interference. See, e.g., Centennial Bank v. ServisFirst

 Bank, 2022 WL 10219893, at *8 (M.D. Fla. Oct 10, 2022).

       The Court should enter judgment on USI’s tortious-interference claim

 for three reasons. First, it has the same problem as the theories this Court

 rejected before trial. USI offered no evidence that Lockton SE intended to

 induce or did induce Simmons or Mitchell to breach their contracts by servicing

 former USI clients. It’s not clear any defendant was keen to service those

 clients before this Court ruled on USI’s request for a TRO. Simmons worked

 briefly for a couple of clients in that short period, and only when they needed

 help. 7/10 Tr. 140:13-141:1. And Lockton, for its part, didn’t want the clients

 to come over to begin with. E.g., 7/10 Tr. 185:10-19; 7/11 Tr. 171:13-172:4.

       Second, even if Lockton SE had induced Simmons or Mitchell to service

 their former clients, USI still would not have proved Lockton SE employed

 “improper methods.” Duty Free Am., Inc. v. Estee Lauder Cos., 797 F.3d 1248,

 1280 (11th Cir. 2015). Routine, lawful competition can’t support a judgment

 for tortious interference. See Greenberg v. Mount Sinai Med. Ctr. of Greater


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 Miami, Inc., 629 So. 2d 252, 255 (Fla. Dist. Ct. App. 1993). Competition is

 essential to any market economy; “it is only direct and unjustified interference

 that is actionable.” Perez v. Rivero, 534 So. 2d 914, 916 (Fla. Dist. Ct. App.

 1988). Where tortious-interference “plaintiffs have failed to adequately allege

 improper methods, [the Eleventh Circuit] ha[s] followed the Florida courts and

 dismissed these claims.” Duty Free, 797 F.3d at 1280-81 (collecting cases).

       Florida courts have made clear that merely accepting a client that is

 moving on from an unsatisfactory vendor is not “unlawful or improper.” Perez,

 534 So.2d at 916. So does a recent decision in a case involving USI. There,

 USI alleged that another competitor, Alliant, had devised a “masterplan” to

 “poach[]” three “producers in order to steal those producers’ clients from

 [USI].” Aitkin v. USI Ins. Servs., LLC, 607 F. Supp. 3d 1126, 1148 (D. Or.

 2022). USI alleged its former producers’ clients were being serviced by the

 producers’ former USI colleagues, who had also moved to Alliant. Id. at 1138.

 The court entered summary judgment on USI’s tortious-interference claim

 because USI had failed to “establish that Alliant used improper means or acted

 with an improper purpose in accepting and servicing [USI’s] former clients who

 initiated contact with Alliant employees.” Id. at 1149. The same is true here.

       Third, USI’s tortious-interference claim against Lockton SE has a

 causation problem: USI introduced no evidence to support the independent

 element of “damages resulting from the breach.” Johnson, 162 F.3d at 1321.


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 USI didn’t show how the servicing of clients that had already left USI could

 have caused any damages. Hardly any service happened to begin with. There

 is no evidence Mitchell serviced any former USI clients, and Simmons did only

 a small amount of work before the Court issued a TRO forbidding further work.

 USI can’t demonstrate that work caused it any damages when the clients had

 already made the decision to move weeks earlier. 7/10 Tr. 220:20-221:16.

       For that reason, USI might contend that the real injury came from work

 of other former USI employees on client accounts. But USI never pleaded any

 such claim, nor did it disclose that theory in the joint pretrial statement or its

 proposed instructions and verdict form. See Dkt. 3, 185, 185-3, 185-4. In any

 event, there is no evidence that the work of other former USI employees on

 former USI accounts caused USI to lose clients. None of those employees began

 working on former USI accounts for about two weeks, and then just a few days

 after that this Court forbade them from continuing that work. E.g., 7/10 Tr.

 220:17-222:19. Two employees, Chris Kakish and Theresa Kemp, worked on

 those accounts for a little longer, but testified that, if anything, the disruption

 following the Court’s orders would have made those clients less likely to stay

 at Lockton SE, not more. 7/11 Tr. 62:15-64:4, 81:1-13; see also TX-160. That

 the clients remained at Lockton SE notwithstanding these difficulties

 underscores that they were not going to return to USI no matter what.

       Then, too, if there had been any damage from the departure of clients, it


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 would already have been done by the time Simmons serviced those clients at

 Lockton SE. Allowing USI to submit a service-centric claim to the jury along

 with a damages model would confuse the jury into awarding duplicative

 damages. See St. Luke’s Cataract & Laser Inst., P.A. v. Sanderson, 573 F.3d

 1186, 1203 (11th Cir. 2009) (“Where a plaintiff seeks recovery for the same

 damages under different legal theories, only a single recovery is allowed.”).

       In short, no reasonable jury could accept USI’s tortious-interference

 theory, which would hold Lockton SE liable for actions that it did not induce,

 that were not improper, and that caused USI no damages.

 V.    USI has not proved that Lockton SE substantially assisted or
       encouraged any alleged breach of fiduciary duty.

       The elements of aiding and abetting a breach of fiduciary duty are: “(1) a

 fiduciary duty on the part of a primary wrongdoer; (2) a breach of that fiduciary

 duty; (3) knowledge of the breach by the alleged aider and abettor; and (4) the

 aider and abettor’s substantial assistance or encouragement of the

 wrongdoing.” Fonseca v. Taverna Imports, Inc., 212 So. 3d 431, 442 (Fla. Dist.

 Ct. App. 2017). “Substantial assistance occurs when a defendant affirmatively

 assists, helps conceal or fails to act when required to do so, thereby enabling

 the breach to occur.” Aquent LLC v. Stapleton, 65 F. Supp. 3d 1339, 1350 (M.D.

 Fla. 2014). But “[m]ere inaction ‘constitutes substantial assistance only if the

 defendant owes a fiduciary duty directly to the plaintiff.’” Chang v. JPMorgan



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 Chase Bank, N.A., 845 F.3d 1087, 1098 (11th Cir. 2017).

       USI has not proved that Lockton SE substantially assisted or encouraged

 anything USI might characterize as a breach of fiduciary duty. The absence of

 any evidence of affirmative assistance or encouragement of a breach is fatal to

 USI’s aiding-and-abetting claim. See, e.g., Anderson v. Talentsy, Inc., 599 F.

 Supp. 3d 1207, 1215 (M.D. Fla. 2022) (no evidence that the defendant was

 directly involved in diverting corporate opportunities); Bruhl v. Price

 Waterhousecoopers Int’l, 2007 WL 983263, at *10 (S.D. Fla. Mar. 27, 2007)

 (nothing showing the defendant “substantially assisted” the other defendants

 in their fraudulent scheme). Here, too, USI has introduced no evidence that

 Lockton SE substantially assisted or encouraged Simmons’s or Mitchell’s

 alleged breaches of fiduciary duty while the producers were still employed at

 USI. Lockton advised Simmons and Mitchell not to bring clients and not to

 take confidential information. E.g., 7/11 Tr. 171:13-172:4; 7/10 Tr. 185:10-19;

 7/15 Tr. 152:21-153:7. It reluctantly agreed to accept clients if they came, 7/10

 Tr. 159:21-160:1, 259:10-22, which it was free to do. Competition isn’t a tort.

 Given the complete lack of evidence supporting USI’s claim, no reasonable jury

 could find Lockton SE liable for aiding and abetting.

 VI.   USI has not proved that Simmons or Mitchell directly competed
       with USI in breach of any fiduciary duty.

       USI’s fiduciary-duty claim requires it to prove: (1) Simmons and Mitchell



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 owed USI a fiduciary duty; (2) they breached it; and (3) USI’s damages were

 proximately caused by that breach. See Med. & Chiropractic Clinic, Inc. v.

 Oppenheim, 981 F.3d 983, 989 (11th Cir. 2020). As this Court has noted, “[t]he

 independent tort doctrine precludes a party from using a purely contractual

 duty to manufacture a duty in tort that would not otherwise exist.” Dkt. 179

 at 8. So USI must prove that Simmons’s and Mitchell’s conduct “breache[d] an

 independently-existing [fiduciary] duty.” Id.; see also Tulepan v. Roberts, 2015

 WL 235441, at *13 (S.D. Fla. Jan. 16, 2015) (granting summary judgment

 because fiduciary-duty claim arose out of parties’ contract); Peebles v. Puig, 223

 So.3d 1065, 1068-69 (Fla. Dist. Ct. App. 2017). What USI can’t do is rehash

 evidence of indirect solicitation and expect that to result in tort liability.

       This Court has recognized that Simmons’s and Mitchell’s “contractual

 duties . . . are significantly broader than the fiduciary duties imposed by

 Florida law.” Dkt. 226 at 9. Simmons’s and Mitchell’s fiduciary duties, if any,

 are narrower in two ways—in length and the type of conduct they forbid. While

 the contractual restrictive covenants extend for two years beyond Simmons’s

 and Mitchell’s employment with USI, any fiduciary duties were extinguished

 once they left USI. See, e.g., New World Fashions, Inc. v. Lieberman, 429 So.

 2d 1276, 1277 (Fla. Dist. Ct. App. 1983) (fiduciary duty does not “preclude an

 agent from competing with his principal after the termination of their

 relationship”); Armor Corr. Health Servs., Inc. v. Teal, 2021 WL 5834245, at


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 *23 (S.D. Fla. Dec. 8, 2021) (fiduciary-duty claim “fail[ed] as a matter of law”

 because plaintiff’s allegations related to conduct after employee resigned).

       USI’s restrictive covenants are also broader, this Court concluded, in

 that they forbid “even ‘indirect’ solicitation” in the form of notifying clients.

 Dkt. 226 at 6. By contrast, Florida law on fiduciary obligations provides that,

 even before the end of employment, “the agent is entitled to make

 arrangements to compete” and “has no duty to disclose such plans.” New

 World, 429 So. 2d at 1277. That’s why the District Court of Appeal affirmed a

 trial court’s judgment in favor of employees who had set up a competing

 business and notified customers while still employed by the plaintiff. Fish v.

 Adams, 401 So. 2d 843, 845 (Fla. Dist. Ct. App. 1981). The court explained

 that “the planning of a competing business is not ipso facto a breach of an

 employee’s duty of loyalty”—“[n]or is notification to customers.” Id.

       Recognizing that it must meet a higher bar for its fiduciary-duty claims,

 USI set out to prove that Simmons and Mitchell, “while still employed by USI,

 sought to compete with and to divert USI’s employees and clients away from

 USI to themselves, and to Lockton.” Dkt. 3 at 25. USI has also said its

 fiduciary-duty claims rest on a theory of “‘planned and coordinated sabotage

 in violation of [their] fiduciary duties.’” Dkt. 226 at 9.

       At trial, USI did not prove that theory to be true. The evidence shows

 that Simmons and Mitchell worked hard through the end of their time at USI,


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 generating ever-higher revenues for the company. 7/9 Tr. 67:18-70:16; 7/11

 Tr. 235:9-17. In many cases, that revenue came not long before they left, and

 USI kept all of it. E.g., 7/10 Tr. 69:6-19, 70:6-19, 108:19-25, 113:7-12, 215:15-

 16, 218:24-219:17. Nor is there evidence that Simmons and Mitchell took any

 confidential information with them or left USI inadequate information to

 retain the clients. To the contrary, Simmons and Mitchell worked with forensic

 specialists to ensure they had returned all USI information. TX-27, TX-40.

 Simmons not only left all the information behind, but carefully organized it so

 that USI could find whatever it needed. 7/10 Tr. 264:2-265:19.

       All USI has demonstrated is that Simmons notified some clients and

 fellow USI employees he was leaving (and that Mitchell told two clients). That

 was enough, in the Court’s view, to establish indirect solicitation for purposes

 of USI’s breach-of-contract claims. Dkt. 226 at 7. But it can’t also establish a

 breach sounding in tort. See, e.g., Certain Underwriters at Lloyd’s of London

 v. Ocean Walk Resort Condo. Ass’n, Inc., 2017 WL 3034069, at *11 (M.D. Fla.

 July 18, 2017). Nor can the producers’ discussions with their fellow employees

 regarding working conditions at USI be a basis for liability; those

 communications are protected under the National Labor Relations Act. See

 Memo. re Non-Compete Agreements that Violate the NLRA, NLRB Off. of Gen.

 Counsel (May 30, 2023), at 3-5, http://tinyurl.com/ynmhxh9v. USI’s evidence

 shows Simmons and Mitchell just wanted to leave USI behind, not sabotage it.


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 VII. The Court should enter judgment on USI’s contract claims.

       This Court decided Simmons and Mitchell breached certain contractual

 obligations to USI. Specifically, it concluded they didn’t give 60 days’ notice

 before leaving (Dkt. 226 at 5) and indirectly solicited clients (id. at 7), and that

 Simmons indirectly solicited three employees (id. at 8). The Court left to the

 jury to decide whether he solicited three others, “whether any damage resulted

 from the breaches and, if so, the amount of any such damages.” Id. at 11.

       “For a breach of contract claim, Florida law requires the plaintiff to plead

 and establish: (1) the existence of a contract; (2) a material breach of that

 contract; and (3) damages resulting from the breach.” Vega v. T-Mobile USA,

 Inc., 564 F.3d 1256, 1272 (11th Cir. 2009). On the third element, the plaintiff

 “‘must show with reasonable certainty that the plaintiff suffered damages and

 that the damages flowed as the natural and proximate result of

 defendant’s . . . conduct.’”   Sun Life Assurance Co. of Canada v. Imperial

 Premium Fin., LLC, 904 F.3d 1197, 1222 (11th Cir. 2018).

       A plaintiff’s failure to prove a contractual breach was the proximate

 cause of damages will defeat his breach-of-contract action. For example, in a

 breach-of-contract case brought by an employer against its former employee,

 the Eleventh Circuit reversed a damages award “because there was no showing

 that [the former employee’s] breach caused the claimed damage.” Proudfoot,

 576 F.3d at 1241. Although the former employee breached his restrictive


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 covenant against soliciting clients, the Eleventh Circuit nonetheless held that

 the district court erred in awarding damages “because the district court never

 found that absent [the employee’s] breach, [the employer] would have obtained

 the . . . project” it claimed to have lost. Id. at 1243. The mere fact that the new

 employer profited from that breach was also not enough to establish causation;

 “[d]amages for breach of a non-compete are intended to make the prior

 employer whole, not to punish employees.” Id. Here, too, USI has not proved

 that any breach by Simmons or Mitchell caused its purported damages.

       A.    60 days’ notice

       USI didn’t prove that anything would have been different if Simmons

 and Mitchell had provided 60 days’ notice before leaving USI. To the contrary,

 the evidence shows USI did not lose any revenue from existing clients due to

 Simmons’s or Mitchell’s decision not to provide notice. USI received payments

 from those clients up front before Simmons and Mitchell left.           E.g., 7/10

 Tr. 218:24-219:17, 257:21-258:22. When a client buys insurance, the insurance

 broker collects all the revenue when the policies are bound, even if the client

 immediately moves to another broker. Id. Here, several major clients renewed

 their policies just before leaving USI; as a result, USI kept every dime from the

 renewals but was relieved of the costs of servicing those clients. Id. Because

 Simmons had no clients renewing in February, 7/10 Tr. 69:6-18, 70:6-19, and

 because the clients who moved to Lockton would have left no matter what,


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 there was no further opportunity for USI to collect additional revenue. If

 anything, USI actually came out ahead, booking renewal revenue and avoiding

 significant service costs. Lockton, by contrast, ended up working for free. 7/10

 Tr. 237:9-24; 7/11 Tr. 232:12-233:1.

       B.    Soliciting clients

       USI has provided no evidence that clients left USI because Simmons or

 Mitchell informed them of their impending departure—something those clients

 would have found out either way. Tyson, the only former client whom USI

 called to testify, confirmed that PGT would have left USI no matter what. 7/15

 Tr. 198:20-203:23, 213:21-214:1. USI has thus offered nothing to show its

 clients would have stayed.     What drove these clients to leave was their

 enduring personal and business relationships with Simmons and Mitchell, not

 any phone calls made before the producers moved to Lockton.

       The structure of payments also again proves the absence of causation

 and damages. USI, as the incumbent broker, kept all renewal revenue from

 clients.   7/10 Tr. 218:24-219:17, 257:21-258:22.     When clients moved to

 Lockton, the revenue did not move with them; Lockton will be paid only if the

 clients renew with Lockton as their broker of record. 7/11 Tr. 232:23-233:1.

 USI’s damages model rests on the idea that USI had a right to keep those

 clients for years to come. But USI does not own its clients, clients have no

 contractual obligation to stick around, and USI presented no evidence


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 suggesting that any clients would have remained with USI of their own accord.

       C.    Soliciting employees

       USI also has not proved that Simmons’s communications with the other

 employees harmed USI, and for two reasons. First, the evidence shows that

 those employees, who were indisputably free to resign at any time and for any

 reason, would have left USI regardless. The only employees who testified

 during USI’s case said that they had their own reasons for leaving USI and

 that they were not lured away by Simmons or Mitchell. 7/10 Tr. 208:15-25,

 213:13-214:11 (Murray), 7/11 Tr. 90:13-25 (Kakish), 152:9-153:154:25 (Kemp).

 USI didn’t bother calling the others—a failure of proof it can’t correct now.

       Second, USI has not shown how the alleged solicitation of those

 employees caused USI any of its claimed financial losses. Frost admitted his

 lost-profits damages model is premised entirely on the loss of clients—not the

 employees. 7/15 Tr. 251:25-252:12. This Court properly struck USI’s other

 damages model, which purported to capture the value of a lost standalone

 business. See Dkt. 178. The employees’ departure could have caused damages

 only if the employees left because Simmons solicited them and that solicitation

 caused the clients to leave. But USI has proved nothing of the sort.

                                CONCLUSION

       The Court should enter judgment for Defendants on all claims. At a

 minimum, it should not instruct the jury on punitive damages or disgorgement.


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  Dated: July 16, 2024             Respectfully submitted,

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                  LOCAL RULE 3.01(g) CERTIFICATION

       Defendants hereby certify that their counsel has conferred with the

 opposing party regarding the relief sought via email and, at the time of this

 filing, USI’s counsel has advised that they oppose the requested relief.

                        CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the

 foregoing document is being served this day on all counsel of via transmission

 of Notice of Electronic Filing generated by CM/ECF.

                                                       s/ Lyle E. Shapiro




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